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                 5                                 UNITED STATES DISTRICT COURT
                 6                                        DISTRICT OF NEVADA
                 7                                                    ***
                 8     KMI ZEOLITE, INC. et al.,                              Case No. 2:15-CV-2038 JCM (NJK)
                 9                                            Plaintiff(s),                    ORDER
               10              v.
               11      UNITED STATES DEPARTMENT OF THE
                       INTERIOR, et al.,
               12
                                                           Defendant(s).
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                               Presently before the court is the parties’ joint motion to continue the stay in this case.
               15
                       (ECF No. 181).
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                               This is the parties’ second request to continue the stay. (ECF No. 179). They now aver
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                       that the BLM “has continued to work to process the request for the sale of the parcels and has
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                       been conducting its due diligence” but has been delayed by personnel changes. (ECF No.
               19
                       181).
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                               Accordingly,
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                               IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the parties’ joint
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                       motion to continue the stay (ECF No. 181) be, and the same hereby is, GRANTED.
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                               IT IS FURTHER ORDERED that this case shall remain administratively stayed until
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                       Wednesday, June 30, 2021, pending performance of the settlement agreement.                 If the
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                       settlement is not fully performed prior to Wednesday, June 30, 2021, the parties may request
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                       a continuance of the administrative stay.
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James C. Mahan
U.S. District Judge
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                1             IT IS FURTHER ORDERED that the parties shall file a motion to lift the stay and a
                2      notice of dismissal within 14 days of performance of the settlement agreement.
                3             DATED January 11, 2021.
                4                                                __________________________________________
                                                                 UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                -2-
